Case 8-09-76444-reg   Doc 1   Filed 08/28/09   Entered 08/28/09 12:10:17

                 Charles Scandore
                 725 Miller Ave.
                 Freeport, NY




                 Gina Taliercio
                 172 Debora Lane
                 Plainview, NY 11803




                 Allied Interstate
                 300 Corporate Exchange Dr
                 5th Floor
                 Columbus, OH 43231


                 American Express
                 PO Box 1270
                 Newark, NJ 07101




                 Bank of America
                 PO Box 15713
                 Wilmington, DE 19886




                 Bank of America
                 PO Box 17404
                 Baltimore, MD 21297




                 Central Credit Services
                 PO Box 15118
                 Jacksonville, FL 32239




                 Discover
                 PO Box 15251
                 Wilmington, DE 19886




                 First Source
                 PO Box 628
                 Buffalo, NY 14240
Case 8-09-76444-reg   Doc 1   Filed 08/28/09   Entered 08/28/09 12:10:17

                 GE Money Bank
                 PO Box 960061
                 Orlando, FL 32896




                 GMAC
                 PO Box 78234
                 Phoenix, AZ 85062




                 HBSC Card Services
                 PO Box 60102
                 City of Industry, CA
                 91716


                 HSBC
                 PO Box 17332
                 Baltimore, MD 21297




                 HSBC Card Services
                 PO Box 60102
                 City of Industry, CA
                 91716


                 Internal Revenue Service
                 Special Proceedures
                 625 Fulton Street
                 10 Metrotech Center
                 Brooklyn, NY 11201

                 Internal Revenue Service
                 ACS Support
                 PO Box 57
                 Bensavem, PA 19020


                 Jeffery Asher
                 410 Park Ave.
                 New York, NY 10022




                 M & T Credit Services, LL
                 PO Box 37258
                 Baltimore, MD 21297
Case 8-09-76444-reg   Doc 1   Filed 08/28/09   Entered 08/28/09 12:10:17

                 Mann Bracken, LLP
                 1 Paces West
                 Suite 1400
                 2727 Paces Ferry Rd.
                 Atlanta, GA 30339

                 New York State
                 Dept.Taxation & Finance
                 Queens District Office
                 80-02 Kew Gardens Rd.
                 Kew Gardens, NY 11415

                 NYS Dept. of Taxation & F
                 Bankruptcy Unit
                 PO Box 5300
                 Albany, NY 12205


                 Raymour & Flanigan
                 PO Box 98796
                 Las Vegas, NV 89193




                 State of New York
                 Office of the Attorney
                 120 Broadway
                 New York, NY 10271


                 Us Dept of Justice
                 Tax Division
                 Ben Franklin Station
                 Washington, DC 20044


                 Wells Fargo
                 PO Box 98751
                 Las Vegas, NV 89193




                 Zwicker & Associates
                 130 Allens Creek Rd.
                 Suite 101
                 Rochester, NY 14618
                          Case 8-09-76444-reg                           Doc 1           Filed 08/28/09                Entered 08/28/09 12:10:17

B 1 (Official Form 1) (1/08)
                                     United States Bankruptcy Court                                                                              Voluntary Petition
                                      Eastern District of New York

 Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
   Scandore, Keith,
 All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):

Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN(if              Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN(if more
more than one, state all): XXX-XX-3454                                                           than one, state all):


 Street Address of Debtor (No. & Street, City, and State):                                       Street Address of Joint Debtor (No. & Street, City, and State):
   660 East Broadway
   Long beach, NY
                                                             ZIP CODE          11561                                                                          ZIP CODE
 County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
   Nassau
 Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):

                                                             ZIP CODE                                                                                         ZIP CODE
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                              ZIP CODE
                      Type of Debtor                                           Nature of Business                              Chapter of Bankruptcy Code Under Which
                    (Form of Organization)                       (Check one box)                                                  the Petition is Filed (Check one box)
                       (Check one box.)
                                                                     Health Care Business                                 Chapter 7                        Chapter 15 Petition for
        Individual (includes Joint Debtors)                          Single Asset Real Estate as defined in 11                                             Recognition of a Foreign
                                                                                                                          Chapter 9
        See Exhibit D on page 2 of this form.                        U.S.C. § 101(51B)                                                                     Main Proceeding
        Corporation (includes LLC and LLP)                           Railroad                                            Chapter 11
                                                                                                                                                           Chapter 15 Petition for
        Partnership                                                  Stockbroker                                         Chapter 12                        Recognition of a Foreign
        Other (If debtor is not one of the above entities,           Commodity Broker                                                                      Nonmain Proceeding
                                                                     Clearing Bank                                       Chapter 13
        check this box and state type of entity below.)
        _____________________                                        Other                                                                    Nature of Debts
                                                                                                                                                (Check one box)
                                                                              Tax-Exempt Entity                          Debts are primarily consumer                  Debts are primarily
                                                                            (Check box, if applicable)                   debts, defined in 11 U.S.C.                   business debts.
                                                                                                                         § 101(8) as “incurred by an
                                                                        Debtor is a tax-exempt organization              individual primarily for a
                                                                        under Title 26 of the United States              personal, family, or house-
                                                                        Code (the Internal Revenue Code.)                hold purpose.”
                                  Filing Fee (Check one box)                                                                          Chapter 11 Debtors
                                                                                                     Check one box:
      Full Filing Fee attached
                                                                                                           Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
      Filing Fee to be paid in installments (applicable to individuals only). Must attach                  Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
      signed application for the court's consideration certifying that the debtor is                 Check if:
      unable to pay fee except in installments. Rule 1006(b) See Official Form 3A.
                                                                                                           Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                           insiders or affiliates) are less than $2,190,000.
      Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
      attach signed application for the court's consideration. See Official Form 3B.                 Check all applicable boxes
                                                                                                           A plan is being filed with this petition
                                                                                                           Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                           of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                   THIS SPACE IS FOR
                                                                                                                                                                          COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative
      expenses paid, there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 1-           50-          100-         200-        1,000-       5,001-       10,001-     25,001-        50,001-     Over
 49           99           199          999         5,000        10,000       25,000      50,000         100,000     100,000
 Estimated Assets

 $0 to   $50,001 to       $100,001 to     $500,001 to $1,000,001 $10,000,001 $50,000,001 $100,000,001                 $500,000,001     More than $1
 $50,000 $100,000         $500,000        $1          to $10     to $50      to $100     to $500                      to $1 billion    billion
                                          million     million    million     million     million
 Estimated Liabilities

 $0 to   $50,001 to       $100,001 to     $500,001 to $1,000,001 $10,000,001 $50,000,001 $100,000,001
                                                                                                                      $500,000,001     More than $1
 $50,000 $100,000         $500,000        $1          to $10     to $50      to $100     to $500
                                                                                                                      to $1 billion    billion
                                          million     million    million     million     million
                            Case 8-09-76444-reg                         Doc 1          Filed 08/28/09                  Entered 08/28/09 12:10:17
B 1 (Official Form 1) (1/08)                                                                                                                                                 FORM B1, Page 2
Voluntary Petition                                                                               Name of Debtor(s):
  (This page must be completed and filed in every case)
                                                                                                 Keith Scandore
                                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                                        Case Number:                                              Date Filed:
 Where Filed:          NONE
 Location                                                                                        Case Number:                                              Date Filed:
 Where Filed:
                            Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
 Name of Debtor:                                                                                 Case Number:                                              Date Filed:
 NONE
 District:                                                                                       Relationship:                                             Judge:


                                           Exhibit A                                                                                      Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                     (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                         whose debts are primarily consumer debts)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)              I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                 have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                                 12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                 available under each such chapter. I further certify that I have delivered to the
                                                                                                 debtor the notice required by 11 U.S.C. § 342(b).
        Exhibit A is attached and made a part of this petition.                                     X /s/ Michael J. Macco                                     8/26/2009
                                                                                                        Signature of Attorney for Debtor(s)                      Date
                                                                                                        Michael J. Macco, Esq.                                  XX-XXXXXXX
                                                                                           Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
      Yes, and Exhibit C is attached and made a part of this petition.
       No

                                                                                           Exhibit D

 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

             Exhibit D completed and signed by the debtor is attached and made a part of this petition.

 If this is a joint petition:

             Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                        Information Regarding the Debtor - Venue
                                                                                   (Check any applicable box)
                          Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                          preceding the date of this petition or for a longer part of such 180 days than in any other District.

                          There is a bankruptcy case concerning debtor's affiliate. general partner, or partnership pending in this District.


                          Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District. or
                          has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
                          this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                             Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                     (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following).



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)
                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                          filing of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                         Case 8-09-76444-reg                          Doc 1           Filed 08/28/09               Entered 08/28/09 12:10:17
B 1 (Official Form 1) (1/08)                                                                                                                                          FORM B1, Page 3
Voluntary Petition                                                                            Name of Debtor(s):
  (This page must be completed and filed in every case)                                       Keith Scandore

                                                                                      Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                      Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this petition is true     I declare under penalty of perjury that the information provided in this petition is true
and correct.                                                                                  and correct, that I am the foreign representative of a debtor in a foreign proceeding,
[If petitioner is an individual whose debts are primarily consumer debts and has              and that I am authorized to file this petition.
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such        (Check only one box.)
chapter, and choose to proceed under chapter 7.
                                                                                                    I request relief in accordance with chapter 15 of Title 11, United States Code.
[If no attorney represents me and no bankruptcy petition preparer signs the petition] I             Certified Copies of the documents required by § 1515 of title 11 are attached.
have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                    Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
 I request relief in accordance with the chapter of title 11, United States Code, specified         Chapter of title 11 specified in the petition. A certified copy of the
 in this petition.                                                                                  order granting recognition of the foreign main proceeding is attached.

   X s/ Keith Scandore                                                                        X Not Applicable
       Signature of Debtor        Keith Scandore                                                  (Signature of Foreign Representative)

   X Not Applicable
       Signature of Joint Debtor                                                                  (Printed Name of Foreign Representative)

       Telephone Number (If not represented by attorney)
       8/26/2009                                                                                  Date
       Date
                                   Signature of Attorney                                                           Signature of Non-Attorney Petition Preparer
  X /s/ Michael J. Macco                                                                      I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined
      Signature of Attorney for Debtor(s)
                                                                                              in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided the
                                                                                              debtor with a copy of this document and the notices and information required under 11
      Michael J. Macco, Esq. Bar No. XX-XXXXXXX                                               U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or guidelines have been
      Printed Name of Attorney for Debtor(s) / Bar No.                                        promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable
                                                                                              by bankruptcy petition preparers, I have given the debtor notice of the maximum amount
      Macco & Stern, LLP                                                                      before preparing any document for filing for a debtor or accepting any fee from the debtor,
                                                                                              as required in that section. Official Form 19 is attached.
      Firm Name
      135 Pinelawn Road Suite 120 South
      Address                                                                                     Not Applicable
                                                                                                  Printed Name and title, if any, of Bankruptcy Petition Preparer
      Melville, NY 11747

      (631) 549-7900                                                                             Social-Security number (If the bankruptcy petition preparer is not an individual, state
      Telephone Number                                                                           the Social-Security number of the officer, principal, responsible person or partner of
      8/26/2009                                                                                  the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)

      Date
      *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a              Address
      certification that the attorney has no knowledge after an inquiry that the
      information in the schedules is incorrect.

                  Signature of Debtor (Corporation/Partnership)
                                                                                              X Not Applicable
 I declare under penalty of perjury that the information provided in this petition is true
 and correct, and that I have been authorized to file this petition on behalf of the             Date
 debtor.
                                                                                                 Signature of bankruptcy petition preparer or officer, principal, responsible person, or
                                                                                                 partner whose Social-Security number is provided above.
 The debtor requests the relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.                                                               Names and Social-Security numbers of all other individuals who prepared or assisted
                                                                                                 in preparing this document unless the bankruptcy petition preparer is not an
 X Not Applicable                                                                                individual.
     Signature of Authorized Individual                                                          If more than one person prepared this document, attach to the appropriate official form
                                                                                                 for each person.

     Printed Name of Authorized Individual                                                       A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                                 the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                                 both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Title of Authorized Individual


      Date
        Case 8-09-76444-reg               Doc 1      Filed 08/28/09          Entered 08/28/09 12:10:17


B 1D (Official Form 1, Exhibit D) (12/08)

                                  UNITED STATES BANKRUPTCY COURT
                                          Eastern District of New York


         In re   Keith Scandore                                                     Case No.
                            Debtor                                                                     (if known)


           EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                            CREDIT COUNSELING REQUIREMENT

         Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court can
dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your creditors
will be able to resume collection activities against you. If your case is dismissed and you file another
bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
to stop creditors' collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file
a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

              1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, and I have a certificate
from the agency describing the services provided to me. Attach a copy of the certificate and a copy of any debt
repayment plan developed through the agency.

               2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, but I do not have a
certificate from the agency describing the services provided to me. You must file a copy of a certificate from the
agency describing the services provided to you and a copy of any debt repayment plan developed through the
agency no later than 15 days after your bankruptcy case is filed.


              3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent circumstances
merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case now. [Summarize
exigent circumstances here.]




         If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.

             4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                       Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
        mental deficiency so as to be incapable of realizing and making rational decisions with respect to financial
        responsibilities.);
       Case 8-09-76444-reg              Doc 1      Filed 08/28/09          Entered 08/28/09 12:10:17

B 1D (Official Form 1, Exh. D) (12/08) – Cont.
                      Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
        unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
        through the Internet.);
                      Active military duty in a military combat zone.

             5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. ' 109(h) does not apply in this district.

        I certify under penalty of perjury that the information provided above is true and correct.

Signature of Debtor: s/ Keith Scandore
                     Keith Scandore

Date: 8/26/2009
                     Case 8-09-76444-reg     Doc 1     Filed 08/28/09                Entered 08/28/09 12:10:17



B6A (Official Form 6A) (12/07)

In re:   Keith Scandore                                                                                          Case No.
                                                                ,
                                                                                                                                             (If known)
                                           Debtor



                                 SCHEDULE A - REAL PROPERTY




                                                                             HUSBAND, WIFE, JOINT
                                                                                                                 CURRENT VALUE
                                                                                                                  OF DEBTOR'S




                                                                                OR COMMUNITY
                                                                                                                   INTEREST IN
               DESCRIPTION AND                                                                                 PROPERTY, WITHOUT                    AMOUNT OF
                                               NATURE OF DEBTOR'S
                 LOCATION OF                                                                                     DEDUCTING ANY                       SECURED
                                              INTEREST IN PROPERTY                                              SECURED CLAIM
                  PROPERTY                                                                                                                            CLAIM
                                                                                                                  OR EXEMPTION




 Townhouse Condo                                                                     J                                    $ 500,000.00                $ 576,000.00
 660 East Broadway
 Long Beach, NY 11561

                                                                     Total                              $ 500,000.00
                                                                                                    (Report also on Summary of Schedules.)
                        Case 8-09-76444-reg                     Doc 1       Filed 08/28/09      Entered 08/28/09 12:10:17



B6B (Official Form 6B) (12/07)

In re      Keith Scandore                                                              ,              Case No.
                                                                 Debtor                                                                 (If known)



                                          SCHEDULE B - PERSONAL PROPERTY




                                                                                                                 HUSBAND, WIFE, JOINT
                                                                                                                                         CURRENT VALUE OF
                                                                                                                                         DEBTOR'S INTEREST




                                                                                                                   OR COMMUNITY
                                                                                                                                         IN PROPERTY, WITH-
                                                                           DESCRIPTION AND LOCATION                                      OUT DEDUCTING ANY
                                                     NONE

               TYPE OF PROPERTY                                                  OF PROPERTY                                                SECURED CLAIM
                                                                                                                                            OR EXEMPTION




  1. Cash on hand                                    X
  2. Checking, savings or other financial                   Capital One Checking Melville Account                                                     100.00
     accounts, certificates of deposit, or
     shares in banks, savings and loan, thrift,
     building and loan, and homestead
     associations, or credit unions, brokerage
     houses, or cooperatives.
        Checking, savings or other financial                HSBC Checking Account 9th Street Brooklyn                                                  50.00
        accounts, certificates of deposit, or
        shares in banks, savings and loan, thrift,          Branch
        building and loan, and homestead
        associations, or credit unions, brokerage
        houses, or cooperatives.
  3. Security deposits with public utilities,        X
     telephone companies, landlords, and
     others.
  4. Household goods and furnishings,                       Misc Household goods & Furnishings                                                       1,000.00
     including audio, video, and computer
     equipment.
  5. Books, pictures and other art objects,          X
     antiques, stamp, coin, record, tape,
     compact disc, and other collections or
     collectibles.
  6. Wearing apparel.                                       Misc Wearing Apparel                                                                     1,000.00
  7. Furs and jewelry.                                      Misc Jewelry                                                                              250.00
  8. Firearms and sports, photographic, and          X
     other hobby equipment.
  9. Interests in insurance policies. Name           X
     insurance company of each policy and
     itemize surrender or refund value of
     each.
 10. Annuities. Itemize and name each                X
     issuer.
 11. Interests in an education IRA as defined        X
     in 26 U.S.C. § 530(b)(1) or under a
     qualified State tuition plan as defined in
     26 U.S.C. § 529(b)(1). Give particulars.
     (File separately the record(s) of any such
     interest(s). 11 U.S.C. § 521(c).)
 12. Interests in IRA, ERISA, Keogh, or other               Fidelity IRA                                                                               10.00
     pension or profit sharing plans. Give
     particulars.
 13. Stock and interests in incorporated and         X
     unincorporated businesses. Itemize.
 14. Interests in partnerships or joint              X
     ventures. Itemize.
 15. Government and corporate bonds and              X
     other negotiable and nonnegotiable
     instruments.
                      Case 8-09-76444-reg                      Doc 1       Filed 08/28/09       Entered 08/28/09 12:10:17

B6B (Official Form 6B) (12/07) -- Cont.

In re   Keith Scandore                                                                 ,             Case No.
                                                                Debtor                                                                 (If known)



                                         SCHEDULE B - PERSONAL PROPERTY
                                                                         (Continuation Sheet)




                                                                                                                HUSBAND, WIFE, JOINT
                                                                                                                                        CURRENT VALUE OF
                                                                                                                                        DEBTOR'S INTEREST




                                                                                                                  OR COMMUNITY
                                                                                                                                        IN PROPERTY, WITH-
                                                                          DESCRIPTION AND LOCATION                                      OUT DEDUCTING ANY
                                                    NONE
            TYPE OF PROPERTY                                                    OF PROPERTY                                                SECURED CLAIM
                                                                                                                                           OR EXEMPTION




 16. Accounts receivable.                           X
 17. Alimony, maintenance, support, and             X
     property settlements to which the debtor
     is or may be entitled. Give particulars.
 18. Other liquidated debts owed to debtor          X
     including tax refunds. Give particulars.
 19. Equitable or future interests, life estates,   X
     and rights or powers exercisable for the
     benefit of the debtor other than those
     listed in Schedule A - Real Property.
 20. Contingent and noncontingent interests         X
     in estate of a decedent, death benefit
     plan, life insurance policy, or trust.
 21. Other contingent and unliquidated              X
     claims of every nature, including tax
     refunds, counterclaims of the debtor,
     and rights to setoff claims. Give
     estimated value of each.
 22. Patents, copyrights, and other                 X
     intellectual property. Give particulars.
 23. Licenses, franchises, and other general        X
     intangibles. Give particulars.
 24. Customer lists or other compilations           X
     containing personally identifiable
     information (as defined in 11 U.S.C. §
     101(41A)) provided to the debtor by
     individuals in connection with obtaining a
     product or service from the debtor primarily
     for personal, family, or household
     purposes.
 25. Automobiles, trucks, trailers, and other              2008 GMC Yukon                                                                            40,000.00
     vehicles and accessories.
                                                           (subject to lien)
 26. Boats, motors, and accessories.                       2005 30' Grady White                                       J                             110,000.00
                                                           (subject to lien)
 27. Aircraft and accessories.                      X
 28. Office equipment, furnishings, and             X
     supplies.
 29. Machinery, fixtures, equipment and             X
     supplies used in business.
 30. Inventory.                                     X
 31. Animals.                                       X
 32. Crops - growing or harvested. Give             X
     particulars.
 33. Farming equipment and implements.              X
 34. Farm supplies, chemicals, and feed.            X
 35. Other personal property of any kind not        X
     already listed. Itemize.
                   Case 8-09-76444-reg               Doc 1      Filed 08/28/09       Entered 08/28/09 12:10:17

B6B (Official Form 6B) (12/07) -- Cont.

In re   Keith Scandore                                                        ,           Case No.
                                                     Debtor                                                                     (If known)



                                 SCHEDULE B - PERSONAL PROPERTY
                                                              (Continuation Sheet)




                                                                                                         HUSBAND, WIFE, JOINT
                                                                                                                                 CURRENT VALUE OF
                                                                                                                                 DEBTOR'S INTEREST




                                                                                                           OR COMMUNITY
                                                                                                                                 IN PROPERTY, WITH-
                                                               DESCRIPTION AND LOCATION                                          OUT DEDUCTING ANY
                                          NONE
          TYPE OF PROPERTY                                           OF PROPERTY                                                    SECURED CLAIM
                                                                                                                                    OR EXEMPTION




                                                 2   continuation sheets attached                Total                                   $ 152,410.00

                                                                                                     (Include amounts from any continuation sheets
                                                                                                     attached. Report total also on Summary of
                                                                                                     Schedules.)
                    Case 8-09-76444-reg                  Doc 1         Filed 08/28/09        Entered 08/28/09 12:10:17



B6C (Official Form 6C) (12/07)


In re   Keith Scandore                                                                                Case No.
                                                                                         ,
                                                                                                                              (If known)
                                                              Debtor



                       SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:               Check if debtor claims a homestead exemption that exceeds
(Check one box)                                                               $136,875
   11 U.S.C. § 522(b)(2)
   11 U.S.C. § 522(b)(3)


                                                                                              VALUE OF                      CURRENT
                                                           SPECIFY LAW
                                                                                              CLAIMED                  VALUE OF PROPERTY
        DESCRIPTION OF PROPERTY                           PROVIDING EACH
                                                                                             EXEMPTION                 WITHOUT DEDUCTING
                                                            EXEMPTION
                                                                                                                           EXEMPTION


Capital One Checking Melville               Debt. & Cred. Law § 283                                 100.00                                  100.00
Account
Fidelity IRA                                Debt. & Cred. Law § 282, Ins. Law                         10.00                                  10.00
                                            §4607, CPLR §5205(c)
HSBC Checking Account 9th                   Debt. & Cred. Law § 283                                   50.00                                  50.00
Street Brooklyn Branch
Misc Household goods &                      CPLR § 5205(a)(5)                                     1,000.00                                 1,000.00
Furnishings
Misc Jewelry                                CPLR §5205(a)(6)                                        250.00                                  250.00

Misc Wearing Apparel                        CPLR § 5205(a)(5)                                     1,000.00                                 1,000.00
                        Case 8-09-76444-reg                          Doc 1                          Filed 08/28/09     Entered 08/28/09 12:10:17


B6D (Official Form 6D) (12/07)


 In re   Keith Scandore                                                                                        ,           Case No.

                                                         Debtor                                                                                                            (If known)


                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

                    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                                      HUSBAND, WIFE, JOINT
               CREDITOR'S NAME AND                                                                       DATE CLAIM WAS                                                    AMOUNT OF
                 MAILING ADDRESS                                                                        INCURRED, NATURE                                                  CLAIM WITHOUT               UNSECURED




                                                                                                                                              UNLIQUIDATED
                                                                        OR COMMUNITY




                                                                                                                                 CONTINGENT
                                                                                                                                                                                                      PORTION, IF

                                                          CODEBTOR




                                                                                                                                                             DISPUTED
             INCLUDING ZIP CODE AND                                                                        OF LIEN, AND                                                     DEDUCTING
               AN ACCOUNT NUMBER                                                                         DESCRIPTION AND                                                     VALUE OF                    ANY
              (See Instructions, Above.)                                                               VALUE OF PROPERTY                                                   COLLATERAL
                                                                                                         SUBJECT TO LIEN


 ACCOUNT NO. 6921473275                                                   J                                                                                                        64,000.00               64,000.00
                                                                                             2nd Mortgage
 Bank of America
                                                                                             Townhouse Condo
 PO Box 17404
                                                                                             660 East Broadway
 Baltimore, MD 21297
                                                                                             Long Beach, NY 11561
                                                                                             __________________________
                                                                                             VALUE $500,000.00
 ACCOUNT NO. 6058861755                                     X             J                                                                                                       512,000.00               12,000.00
                                                                                             Mortgage
 Bank of America
                                                                                             Townhouse Condo
 PO Box 17404
                                                                                             660 East Broadway
 Baltimore, MD 21297
                                                                                             Long Beach, NY 11561
                                                                                             __________________________
                                                                                             VALUE $500,000.00
 ACCOUNT NO. 103913713370                                                                                                                                                          43,985.00                 3,985.00
                                                                                             Car loan
 GMAC
                                                                                             2008 GMC Yukon
 PO Box 78234
                                                                                             (subject to lien)
 Phoenix, AZ 85062
                                                                                             __________________________
                                                                                             VALUE $40,000.00

 ACCOUNT NO. 69519670001                                    X             J                                                                                                       158,510.00               48,000.00
                                                                                             Boat loan
 M & T Credit Services, LLC
                                                                                             2005 30' Grady White
 PO Box 37258
                                                                                             (subject to lien)
 Baltimore, MD 21297
                                                                                             __________________________
                                                                                             VALUE $110,000.00




 0        continuation sheets
          attached
                                                                                             Subtotal
                                                                                             (Total of this page)
                                                                                                                                                                          $       778,495.00 $           127,985.00



                                                                                             Total                                                                        $       778,495.00 $           127,985.00
                                                                                             (Use only on last page)


                                                                                                                                                                        (Report also on Summary of (If applicable, report
                                                                                                                                                                        Schedules)                 also on Statistical
                                                                                                                                                                                                   Summary of Certain
                                                                                                                                                                                                   Liabilities and
                                                                                                                                                                                                   Related Data.)
                         Case 8-09-76444-reg                   Doc 1         Filed 08/28/09            Entered 08/28/09 12:10:17



B6E (Official Form 6E) (12/07)

In re       Keith Scandore                                                              ,                             Case No.
                                                                Debtor                                                                             (If known)


                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

        Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.


TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)
        Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).


        Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

        Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

        Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                        Case 8-09-76444-reg                   Doc 1         Filed 08/28/09             Entered 08/28/09 12:10:17


     Certain farmers and fishermen

     Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

     Deposits by individuals

      Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).

     Taxes and Certain Other Debts Owed to Governmental Units
     Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

     Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

     Claims for Death or Personal Injury While Debtor Was Intoxicated

     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
another substance. 11 U.S.C. § 507(a)(10).

     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.
                                                                   3 continuation sheets attached
                        Case 8-09-76444-reg                                        Doc 1              Filed 08/28/09                               Entered 08/28/09 12:10:17

B6E (Official Form 6E) (12/07) – Cont.


In re     Keith Scandore                                                                                                                                                       Case No.
                                                                                                                     ,                                                                                    (If known)
                                                                         Debtor


               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                    (Continuation Sheet)

                                                                  Type of Priority: Taxes and Certain Other Debts Owed to Governmental Units




                                                                    HUSBAND, WIFE, JOINT
             CREDITOR'S NAME,                                                                   DATE CLAIM WAS                                                                AMOUNT             AMOUNT           AMOUNT




                                                                      OR COMMUNITY




                                                                                                                                                    UNLIQUIDATED
                                                                                                                                      CONTINGENT
              MAILING ADDRESS                                                                    INCURRED AND                                                                 OF CLAIM         ENTITLED TO          NOT


                                                       CODEBTOR




                                                                                                                                                                   DISPUTED
            INCLUDING ZIP CODE,                                                                 CONSIDERATION                                                                                   PRIORITY        ENTITLED TO
           AND ACCOUNT NUMBER                                                                      FOR CLAIM                                                                                                    PRIORITY, IF
           (See instructions above.)                                                                                                                                                                                ANY



 ACCOUNT NO.
                                                                                                                                                                               68,498.85         68,498.85             $0.00
                                                                                           Past due Income tax
 Internal Revenue Service
                                                                                           2005 - 2006
 ACS Support
 PO Box 57
 Bensavem, PA 19020
 ACCOUNT NO.
                                                                                                                                                                               Duplicate         Duplicate             $0.00
                                                                                           Past due income tax
 Internal Revenue Service
                                                                                           2005 - 2006
 Special Proceedures
 625 Fulton Street
 10 Metrotech Center
 Brooklyn, NY 11201
 ACCOUNT NO.
                                                                                                                                                                                8,000.00          8,000.00             $0.00
                                                                                           Past due income taxes
 New York State
                                                                                           2005 - 2006
 Dept.Taxation & Finance
 Queens District Office
 80-02 Kew Gardens Rd.
 Kew Gardens, NY 11415
 ACCOUNT NO.
                                                                                                                                                                               Duplicate         Duplicate             $0.00
                                                                                           For noticing purpose
 NYS Dept. of Taxation & Finance
                                                                                           only
 Bankruptcy Unit
                                                                                           Re: Past due income
 PO Box 5300
                                                                                           taxes 2005 - 2006
 Albany, NY 12205
 ACCOUNT NO.
                                                                                                                                                                               Duplicate         Duplicate             $0.00
                                                                                           For noticing purpose
 State of New York
                                                                                           only
 Office of the Attorney
                                                                                           Re: Past due 2005 - 2006
 120 Broadway
                                                                                           Income Taxes
 New York, NY 10271
 ACCOUNT NO.
                                                                                                                                                                               Duplicate         Duplicate             $0.00
                                                                                           For noticing purpose
 Us Dept of Justice
                                                                                           only
 Tax Division
                                                                                           Re: Past due taxes
 Ben Franklin Station
                                                                                           2005-2006
 Washington, DC 20044
Sheet no. 2 of 3 continuation sheets attached to Schedule of
                                                                                                                                     Subtotals
                                                                                                                         (Totals of this page)
                                                                                                                                                                       $      76,498.85 $         76,498.85 $            0.00
Creditors Holding Priority Claims


                                                                                                                                    Total
                                                                                             (Use only on last page of the completed
                                                                                             Schedule E. Report also on the Summary of
                                                                                                                                                                      $       76,498.85
                                                                                             Schedules.)
                                                                                                                                      Total
                                                                                             (Use only on last page of the completed                                                       $     76,498.85 $             0.00
                                                                                             Schedule E. If applicable, report also on the
                                                                                             Statistical Summary of Certain Liabilities
                                                                                             and Related Data. )
                        Case 8-09-76444-reg                     Doc 1            Filed 08/28/09                     Entered 08/28/09 12:10:17

B6E (Official Form 6E) (12/07) – Cont.


In re     Keith Scandore                                                                                                         Case No.
                                                                                                ,                                                      (If known)
                                                               Debtor


              SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                               (Continuation Sheet)




Sheet no. 3 of 3 continuation sheets attached to Schedule of
                                                                                                                Subtotals
                                                                                                    (Totals of this page)
                                                                                                                            $        0.00 $          0.00 $         0.00
Creditors Holding Priority Claims


                                                                                                               Total
                                                                        (Use only on last page of the completed
                                                                        Schedule E. Report also on the Summary of
                                                                                                                            $   76,498.85
                                                                        Schedules.)
                                                                                                                 Total
                                                                        (Use only on last page of the completed                             $   76,498.85 $         0.00
                                                                        Schedule E. If applicable, report also on the
                                                                        Statistical Summary of Certain Liabilities
                                                                        and Related Data. )
                       Case 8-09-76444-reg                    Doc 1                                 Filed 08/28/09                  Entered 08/28/09 12:10:17



B6F (Official Form 6F) (12/07)

In re    Keith Scandore                                                                                                                   Case No.
                                                                                                                 ,
                                                           Debtor                                                                                                             (If known)

        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

                    Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                       HUSBAND, WIFE, JOINT
                 CREDITOR'S NAME,                                                                                DATE CLAIM WAS                                                                           AMOUNT OF




                                                                         OR COMMUNITY




                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                 CONTINGENT
                  MAILING ADDRESS                                                                                 INCURRED AND                                                                              CLAIM




                                                            CODEBTOR




                                                                                                                                                                                               DISPUTED
                INCLUDING ZIP CODE,                                                                            CONSIDERATION FOR
               AND ACCOUNT NUMBER                                                                                     CLAIM.
                (See instructions above.)                                                                     IF CLAIM IS SUBJECT TO
                                                                                                                 SETOFF, SO STATE

ACCOUNT NO.         6034590227066930                                                                                                                                                                         Duplicate
 Allied Interstate                                                                              For Noticing Purpose Only
 300 Corporate Exchange Dr                                                                      Re GE Money Bank
 5th Floor
 Columbus, OH 43231


ACCOUNT NO.         371294200312007                                                                                                                                                                          85,000.00
 American Express                                                                               Credit Card
 PO Box 1270
 Newark, NJ 07101



ACCOUNT NO.         37463190822349                                                                                                                                                                           55,000.00
 Bank of America                                                                                Credit Card
 PO Box 15713
 Wilmington, DE 19886



ACCOUNT NO.                                                                                                                                                                                                  Duplicate
 Central Credit Services                                                                        For Noticing Purpose Only
 PO Box 15118                                                                                   Re: Wells Fargo
 Jacksonville, FL 32239




                3    Continuation sheets attached

                                                                                                                                                                Subtotal                           $        140,000.00



                                                                                                                                                                                                   $
                                                                                                                                                                        Total
                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                              (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                     Summary of Certain Liabilities and Related Data.)
                         Case 8-09-76444-reg                      Doc 1                                  Filed 08/28/09                  Entered 08/28/09 12:10:17

B6F (Official Form 6F) (12/07) - Cont.

In re      Keith Scandore                                                                                                                      Case No.
                                                                                                                      ,
                                                                Debtor                                                                                                             (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                           AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                      CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                              CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                    DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.        6011002360345318                                                                                                                                                                              11,000.00
 Discover                                                                                            Credit Card
 PO Box 15251
 Wilmington, DE 19886



 ACCOUNT NO.        374631908228349                                                                                                                                                                               Duplicate
 First Source                                                                                        For Noticing Purpose Only
 PO Box 628                                                                                          Re: Bank of America
 Buffalo, NY 14240



 ACCOUNT NO.        60345902270227066930                                                                                                                                                                           6,100.00
 GE Money Bank                                                                                       Credit Card
 PO Box 960061
 Orlando, FL 32896



 ACCOUNT NO.        7824149103357384                                                                                                                                                                              11,000.00
 HBSC Card Services                                                                                  Credit Card
 PO Box 60102
 City of Industry, CA
 91716


 ACCOUNT NO.        3724631999639495                                                                                                                                                                              29,000.00
 HSBC                                                                                                Personal Loan
 PO Box 17332
 Baltimore, MD 21297




Sheet no. 1 of 3 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                           $         57,100.00
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                        $
                                                                                                                                                                             Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
                         Case 8-09-76444-reg                      Doc 1                                  Filed 08/28/09                  Entered 08/28/09 12:10:17

B6F (Official Form 6F) (12/07) - Cont.

In re      Keith Scandore                                                                                                                      Case No.
                                                                                                                      ,
                                                                Debtor                                                                                                             (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                           AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                      CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                              CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                    DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.        5491098627977175                                                                                                                                                                               5,200.00
 HSBC Card Services                                                                                  Credit Card
 PO Box 60102
 City of Industry, CA
 91716


 ACCOUNT NO.                                                                                                                                                                                                      Duplicate
 Jeffery Asher                                                                                       For Noticing Purpose Only
 410 Park Ave.                                                                                       Attorney for American Express
 New York, NY 10022



 ACCOUNT NO.                                                                                                                                                                                                           0.00
 Mann Bracken, LLP                                                                                   For Noticing Purpose Only
 1 Paces West                                                                                        Attorney for Discover
 Suite 1400
 2727 Paces Ferry Rd.
 Atlanta, GA 30339

 ACCOUNT NO.        8960546387                                                                                                                                                                                     5,000.00
 Raymour & Flanigan                                                                                  Credit Card
 PO Box 98796
 Las Vegas, NV 89193



 ACCOUNT NO.        4071100020198895                                                                                                                                                                               6,000.00
 Wells Fargo                                                                                         Credit Card
 PO Box 98751
 Las Vegas, NV 89193




Sheet no. 2 of 3 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                           $         16,200.00
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                        $
                                                                                                                                                                             Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
                         Case 8-09-76444-reg                      Doc 1                                  Filed 08/28/09                  Entered 08/28/09 12:10:17

B6F (Official Form 6F) (12/07) - Cont.

In re      Keith Scandore                                                                                                                      Case No.
                                                                                                                      ,
                                                                Debtor                                                                                                             (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                           AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                      CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                              CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                    DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.        7824149103357384                                                                                                                                                                              Duplicate
 Zwicker & Associates                                                                                For Noticing Purpose Only
 130 Allens Creek Rd.                                                                                Re: HSBC
 Suite 101
 Rochester, NY 14618




Sheet no. 3 of 3 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                           $              0.00
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                        $         213,300.00
                                                                                                                                                                             Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
                    Case 8-09-76444-reg                 Doc 1        Filed 08/28/09           Entered 08/28/09 12:10:17



B6G (Official Form 6G) (12/07)


In re:   Keith Scandore                                                             ,        Case No.
                                                         Debtor                                                  (If known)


 SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         Check this box if debtor has no executory contracts or unexpired leases.


                                                                                        DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
              OF OTHER PARTIES TO LEASE OR CONTRACT.                                    NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                            NUMBER OF ANY GOVERNMENT CONTRACT.
                  Case 8-09-76444-reg                 Doc 1     Filed 08/28/09   Entered 08/28/09 12:10:17



B6H (Official Form 6H) (12/07)


In re: Keith Scandore                                                             Case No.
                                                                         ,                            (If known)
                                                       Debtor


                                            SCHEDULE H - CODEBTORS
         Check this box if debtor has no codebtors.




                   NAME AND ADDRESS OF CODEBTOR                                     NAME AND ADDRESS OF CREDITOR


   Gina Taliercio                                                      Bank of America
   172 Debora Lane                                                     PO Box 17404
   Plainview, NY 11803                                                 Baltimore, MD 21297
   Charles Scandore                                                    M & T Credit Services, LLC
   725 Miller Ave.                                                     PO Box 37258
   Freeport, NY                                                        Baltimore, MD 21297
                      Case 8-09-76444-reg                 Doc 1        Filed 08/28/09             Entered 08/28/09 12:10:17



B6I (Official Form 6I) (12/07)

 In re     Keith Scandore                                                            ,                  Case No.
                                                                  Debtor                                                               (If known)


            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.



 Debtor’s Marital
                                                                   DEPENDENTS OF DEBTOR AND SPOUSE
 Status:       Single
                                                RELATIONSHIP(S):                                                                  AGE(S):


 Employment:                                            DEBTOR                                                        SPOUSE
 Occupation                     Manager
 Name of Employer               Lend America
 How long employed              1 year
 Address of Employer            520 Broadhollow Rd.
                                Melville, NY 11747
 INCOME: (Estimate of average or projected monthly income at time
              case filed)                                                                                    DEBTOR                          SPOUSE


 1. Monthly gross wages, salary, and commissions                                                    $               12,874.18 $
      (Prorate if not paid monthly.)
 2. Estimate monthly overtime                                                                       $                      0.00 $

 3. SUBTOTAL                                                                                        $              12,874.18       $
 4. LESS PAYROLL DEDUCTIONS
         a. Payroll taxes and social security                                                       $                 3,164.56 $
                                                                                                    $                   401.58 $
         b. Insurance
         c. Union dues                                                                              $                     0.00 $
         d. Other (Specify)                                                                         $                      0.00 $

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                  $                 3,566.14 $
 6. TOTAL NET MONTHLY TAKE HOME PAY                                                                 $                 9,308.04 $
 7. Regular income from operation of business or profession or farm
         (Attach detailed statement)                                                                $                      0.00 $
 8. Income from real property                                                                       $                      0.00 $
 9. Interest and dividends                                                                          $                      0.00 $
 10. Alimony, maintenance or support payments payable to the debtor for the
      debtor’s use or that of dependents listed above.                                              $                      0.00 $
 11. Social security or other government assistance
 (Specify)                                                                                          $                      0.00 $
 12. Pension or retirement income                                                                   $                      0.00 $
 13. Other monthly income
 (Specify)                                                                                          $                      0.00 $
 14. SUBTOTAL OF LINES 7 THROUGH 13                                                                 $                     0.00    $

 15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                   $                 9,308.04 $
 16. COMBINED AVERAGE MONTHLY INCOME: (Combine column                                                                    $ 9,308.04
 totals from line 15)
                                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                                 Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document.:
 * Debtor income was recently reduced *
                     Case 8-09-76444-reg                  Doc 1        Filed 08/28/09             Entered 08/28/09 12:10:17



B6J (Official Form 6J) (12/07)

  In re Keith Scandore                                                               ,                          Case No.
                                                           Debtor                                                                     (If known)

                 SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
         Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate
any payments made biweekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may
differ from the deductions from income allowed on Form22A or 22C.
       Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
       expenditures labeled "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home)                                                        $                    3,071.00
      a. Are real estate taxes included?          Yes                     No
       b. Is property insurance included?         Yes                     No
 2. Utilities: a. Electricity and heating fuel                                                                                $                      300.00
               b. Water and sewer                                                                                             $                       85.00
               c. Telephone                                                                                                   $                      150.00
               d. Other Alarm                                                                                                $                        30.00
 3. Home maintenance (repairs and upkeep)                                                                                     $                      425.00
 4. Food                                                                                                                      $                      975.00
 5. Clothing                                                                                                                  $                      125.00
 6. Laundry and dry cleaning                                                                                                  $                      125.00
 7. Medical and dental expenses                                                                                               $                      150.00
 8. Transportation (not including car payments)                                                                               $                      450.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                          $                      150.00
10. Charitable contributions                                                                                                  $                      100.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
                 a. Homeowner’s or renter’s                                                                                   $                        0.00
                 b. Life                                                                                                      $                        0.00
                 c. Health                                                                                                    $                        0.00
                 d. Auto                                                                                                      $                      220.00
                 e. Other Boat Insurance                                                                                      $                      100.00
 12. Taxes (not deducted from wages or included in home mortgage payments)
 (Specify) Property Taxes                                                                                                     $                    1,000.00
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
                a. Auto                                                                                                       $                      721.00
                b. Other Boat Loan                                                                                                $                 1,291.00
 14. Alimony, maintenance, and support paid to others                                                                         $                        0.00
 15. Payments for support of additional dependents not living at your home                                                    $                        0.00
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                             $                        0.00
 17. Other Cable TV, Internet & Phone                                                                                         $                       165.00

 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
 if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)                                          $                    9,633.00

 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:


 20. STATEMENT OF MONTHLY NET INCOME
           a. Average monthly income from Line 15 of Schedule I                                                               $                    9,308.04
           b. Average monthly expenses from Line 18 above                                                                     $                    9,633.00
           c. Monthly net income (a. minus b.)                                                                                $                     -324.96
                         Case 8-09-76444-reg                  Doc 1         Filed 08/28/09             Entered 08/28/09 12:10:17




B6 Summary (Official Form 6 - Summary) (12/07)

                                                           United States Bankruptcy Court
                                                              Eastern District of New York


In re Keith Scandore                                                                   ,                    Case No.
                                                               Debtor
                                                                                                            Chapter       7

                                                    SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from
Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities
and Related Data” if they file a case under chapter 7, 11, or 13.




      NAME OF SCHEDULE                     ATTACHED        NO. OF SHEETS                   ASSETS                      LIABILITIES                     OTHER
                                            (YES/NO)

 A - Real Property                            YES                       1        $           500,000.00

 B - Personal Property                        YES                       3        $           152,410.00

 C - Property Claimed
     as Exempt                                YES                       1

 D - Creditors Holding                        YES                       1                                     $               778,495.00
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                          YES                       4                                     $                76,498.85
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured              YES                       4                                     $               213,300.00
     Nonpriority Claims

 G - Executory Contracts and                  YES                       1
     Unexpired Leases

 H - Codebtors                                YES                       1

 I - Current Income of                                                                                                                         $            9,308.04
     Individual Debtor(s)                     YES                       1

 J - Current Expenditures of                  YES                       1
     Individual Debtor(s)                                                                                                                      $            9,633.00

                                                                      18         $          652,410.00        $         1,068,293.85
                                    TOTAL
                   Case 8-09-76444-reg                   Doc 1        Filed 08/28/09            Entered 08/28/09 12:10:17



Form 6 - Statistical Summary (12/07)

                                                      United States Bankruptcy Court
                                                       Eastern District of New York

In re   Keith Scandore                                                             ,
                                                                                                     Case No.
                                                            Debtor                                   Chapter      7


          STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
           If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.


                Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.


This information is for statistical purposes only under 28 U.S.C. § 159.



Summarize the following types of liabilities, as reported in the Schedules, and total them.



 Type of Liability                                                           Amount
 Domestic Support Obligations (from Schedule E)                             $
 Taxes and Certain Other Debts Owed to Governmental Units (from
 Schedule E)                                                                $ 76,498.85

 Claims for Death or Personal Injury While Debtor Was
 Intoxicated (from Schedule E) (whether disputed or undisputed)             $

 Student Loan Obligations (from Schedule F)                                 $

 Domestic Support, Separation Agreement, and Divorce Decree
 Obligations Not Reported on Schedule E.                                    $

 Obligations to Pension or Profit-Sharing, and Other Similar Obligations
 (from Schedule F)                                                          $

                                                            TOTAL            $ 76,498.85

State the following:

 Average Income (from Schedule I, Line 16)                                  $ 9,308.04

 Average Expenses (from Schedule J, Line 18)                                $ 9,633.00
 Current Monthly Income (from Form 22A Line 12; OR, Form
 22B Line 11; OR, Form 22C Line 20 )                                        $ 12,874.18
                   Case 8-09-76444-reg                   Doc 1           Filed 08/28/09    Entered 08/28/09 12:10:17




                                                       United States Bankruptcy Court
                                                        Eastern District of New York

In re   Keith Scandore                                                            ,
                                                                                                 Case No.
                                                                Debtor                           Chapter    7


State the following:

 1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column
                                                                                             $127,985.00

 2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY”
 column.                                                                     $ 76,498.85
 3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY,
 IF ANY” column                                                                              $
 4. Total from Schedule F                                                                    $213,300.00

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                $341,285.00
                    Case 8-09-76444-reg                   Doc 1         Filed 08/28/09             Entered 08/28/09 12:10:17



B6 Declaration (Official Form 6 - Declaration) (12/07)


  In re Keith Scandore                                                                 ,                                Case No.
                                                           Debtor                                                                        (If known)



                          DECLARATION CONCERNING DEBTOR'S SCHEDULES
                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                        20
sheets, and that they are true and correct to the best of my knowledge, information, and belief.

Date: 8/26/2009                                                                Signature: s/ Keith Scandore
                                                                                            Keith Scandore
                                                                                                                        Debtor
                                                                              [If joint case, both spouses must sign]


       DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP
                                                                     (NOT APPLICABLE)




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C §§ 152 and 3571.
                    Case 8-09-76444-reg            Doc 1       Filed 08/28/09        Entered 08/28/09 12:10:17




B7 (Official Form 7) (12/07)


                                                  UNITED STATES BANKRUPTCY COURT
                                                       Eastern District of New York

In re:   Keith Scandore                                                                       Case No.
                                                                          ,
                                                      Debtor                                                     (If known)




                                          STATEMENT OF FINANCIAL AFFAIRS

          1. Income from employment or operation of business
None      State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the
          debtor's business, including part-time activities either as an employee or in independent trade or business, from the
          beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the two
          years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis
          of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's
          fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or
          chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
          joint petition is not filed.)
          AMOUNT                            SOURCE                                        FISCAL YEAR PERIOD

          73,073.00                        Employment                                     2008

          93,229.42                        Employment                                     2009 to date

          2. Income other than from employment or operation of business
None      State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's
          business during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is
          filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for
          each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

          AMOUNT                             SOURCE                                                               FISCAL YEAR PERIOD

          3. Payments to creditors

          Complete a. or b., as appropriate, and c.
None      a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
          services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless
          the aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk
          (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
          repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing
          under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed,
          unless the spouses are separated and a joint petition is not filed.)

           NAME AND ADDRESS OF                                 DATES OF                             AMOUNT                AMOUNT
           CREDITOR                                            PAYMENTS                             PAID                  STILL OWING
               Case 8-09-76444-reg              Doc 1      Filed 08/28/09         Entered 08/28/09 12:10:17


                                                                                                                         2

None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90
       days immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is
       affected by such transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that
       were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
       a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter
       13 must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)
        NAME AND ADDRESS OF CREDITOR                     DATES OF                               AMOUNT                 AMOUNT
                                                         PAYMENTS/                              PAID OR                STILL
                                                         TRANSFERS                              VALUE OF               OWING
                                                                                                TRANSFERS




None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the
       benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments
       by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
       not filed.)
       NAME AND ADDRESS OF CREDITOR                     DATE OF                                 AMOUNT                 AMOUNT
       AND RELATIONSHIP TO DEBTOR                       PAYMENT                                 PAID                   STILL OWING




       4. Suits and administrative proceedings, executions, garnishments and attachments
None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding
       the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
       not filed.)
       CAPTION OF SUIT                                                         COURT OR AGENCY                       STATUS OR
       AND CASE NUMBER                     NATURE OF PROCEEDING                AND LOCATIO                           DISPOSITION




None b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year
     immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
     information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are
     separated and a joint petition is not filed.)
       NAME AND ADDRESS                                                                   DESCRIPTION
       OF PERSON FOR WHOSE                                    DATE OF                     AND VALUE OF
       BENEFIT PROPERTY WAS SEIZED                            SEIZURE                     PROPERTY

       5. Repossessions, foreclosures and returns
None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of
       foreclosure or returned to the seller, within one year immediately preceding the commencement of this case. (Married
       debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                              DATE OF REPOSSESSION, DESCRIPTION
       NAME AND ADDRESS                                       FORECLOSURE SALE,              AND VALUE OF
       OF CREDITOR OR SELLER                                  TRANSFER OR RETURN             PROPERTY
               Case 8-09-76444-reg              Doc 1      Filed 08/28/09         Entered 08/28/09 12:10:17


                                                                                                                        3

       6. Assignments and receiverships
None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either
       or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
       filed.)
                                                                                          TERMS OF
       NAME AND ADDRESS                                     DATE OF                       ASSIGNMENT
       OF ASSIGNEE                                          ASSIGNMENT                    OR SETTLEMENT

None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
       immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)


                                                NAME AND ADDRESS                                           DESCRIPTION
       NAME AND ADDRESS                         OF COURT                          DATE OF                  AND VALUE OF
       OF CUSTODIAN                             CASE TITLE & NUMBER               ORDER                    PROPERTY

       7. Gifts
None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except
       ordinary and usual gifts to family members aggregating less than $200 in value per individual family member and charitable
       contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include
       gifts or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       NAME AND ADDRESS                         RELATIONSHIP                                               DESCRIPTION
       OF PERSON                                TO DEBTOR,                   DATE                          AND VALUE OF
       OR ORGANIZATION                          IF ANY                       OF GIFT                       GIFT

       8. Losses
None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
       of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

       DESCRIPTION                                   DESCRIPTION OF CIRCUMSTANCES AND, IF
       AND VALUE OF                                  LOSS WAS COVERED IN WHOLE OR IN PART                         DATE OF
       PROPERTY                                      BY INSURANCE, GIVE PARTICULARS                               LOSS

       9. Payments related to debt counseling or bankruptcy
None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
       consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within
       one year immediately preceding the commencement of this case.


       NAME AND ADDRESS                                     DATE OF PAYMENT,               AMOUNT OF MONEY OR
       OF PAYEE                                             NAME OF PAYOR IF               DESCRIPTION AND VALUE
                                                            OTHER THAN DEBTOR              OF PROPERTY
       Macco & Stern, LLP                                                                  For services rendered in connection
       135 Pinelawn Road                                                                   with this instant filing 4,250.00 filing fee
       Suite 120 South                                                                     $299.00 see 2016 & 2017 statement
       Melville, NY 11747                                                                  attached.
               Case 8-09-76444-reg             Doc 1       Filed 08/28/09        Entered 08/28/09 12:10:17


                                                                                                                        4

       10. Other transfers
None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the
       debtor, transferred either absolutely or as security within two years immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                  DESCRIBE PROPERTY
       NAME AND ADDRESS OF TRANSFEREE,                                                            TRANSFERRED
       RELATIONSHIP TO DEBTOR                                DATE                                 AND VALUE RECEIVED




None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a
       self-settled trust or similar device of which the debtor is a beneficiary.


       NAME OF TRUST OR OTHER                              DATE(S) OF                      AMOUNT OF MONEY OR DESCRIPTION
       DEVICE                                              TRANSFER(S)                     AND VALUE OF PROPERTY OR DEBTOR
                                                                                           INTEREST IN PROPERTY



       11. Closed financial accounts
None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed,
       sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include checking,
       savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks,
       credit unions, pension funds, cooperatives, associations, brokerage houses and other financial institutions. (Married debtors
       filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                         TYPE OF ACCOUNT, LAST FOUR                  AMOUNT AND
       NAME AND ADDRESS                                  DIGITS OF ACCOUNT NUMBER,                   DATE OF SALE
       OF INSTITUTION                                    AND AMOUNT OF FINAL BALANCE                 OR CLOSING

       12. Safe deposit boxes
None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within
       one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
       must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are
       separated and a joint petition is not filed.)


       NAME AND ADDRESS                         NAMES AND ADDRESSES                DESCRIPTION                   DATE OF TRANSFER
       OF BANK OR                               OF THOSE WITH ACCESS               OF                            OR SURRENDER,
       OTHER DEPOSITORY                         TO BOX OR DEPOSITOR                CONTENTS                      IF ANY

       13. Setoffs
None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)

                                                                       DATE OF                    AMOUNT OF
       NAME AND ADDRESS OF CREDITOR                                    SETOFF                     SETOFF
               Case 8-09-76444-reg              Doc 1      Filed 08/28/09         Entered 08/28/09 12:10:17


                                                                                                                         5

       14. Property held for another person
None   List all property owned by another person that the debtor holds or controls.
       NAME AND ADDRESS                                       DESCRIPTION AND VALUE
       OF OWNER                                               OF PROPERTY                          LOCATION OF PROPERTY


       15. Prior address of debtor
None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the
       debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also
       any separate address of either spouse.

       ADDRESS                                                          NAME USED                             DATES OF OCCUPANCY

       16. Spouses and Former Spouses
None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years
       immediately preceding the commencement of the case, identify the name of the debtor 's spouse and of any former spouse
       who resides or resided with the debtor in the community property state.
       NAME


       17. Environmental Information.
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state or local statute or regulation regulating pollution, contamination, releases of
       hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium,
       including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
       formerly owned or operated by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
       hazardous material, pollutant, or contaminant or similar term under an Environmental Law.

None
       a.      List the name and address of every site for which the debtor has received notice in writing by a governmental unit
       that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the
       date of the notice, and, if known, the Environmental Law.



       SITE NAME AND                              NAME AND ADDRESS                    DATE OF                  ENVIRONMENTAL
       ADDRESS                                    OF GOVERNMENTAL UNIT                NOTICE                   LAW


None   b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release of
       Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.



       SITE NAME AND                        NAME AND ADDRESS                     DATE OF                ENVIRONMENTAL
       ADDRESS                              OF GOVERNMENTAL UNIT                 NOTICE                 LAW
               Case 8-09-76444-reg              Doc 1      Filed 08/28/09         Entered 08/28/09 12:10:17


                                                                                                                         6

None   c.     List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
       respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
       to the proceeding, and the docket number.



       NAME AND ADDRESS                           DOCKET NUMBER                                    STATUS OR
       OF GOVERNMENTAL UNIT                                                                        DISPOSITION


       18. Nature, location and name of business
None   a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses,
       and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
       executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
       other activity either full- or part-time within the six years immediately preceding the commencement of this case,
       or in which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
       and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
       the voting or equity securities, within the six years immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the business, and
       beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or
       equity securities within the six years immediately preceding the commencement of this case.
                                 LAST FOUR DIGITS
                                 OF SOCIAL SECURITY ADDRESS
       NAME                                                                             NATURE OF             BEGINNING AND ENDING
                                 OR OTHER INDIVIDUAL
                                                                                        BUSINESS              DATES
                                 TAXPAYER-I.D. NO.
                                 (ITIN)/ COMPLETE EIN

None   b.      Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
       U.S.C. § 101.


       NAME                                                                      ADDRESS
       19. Books, records and financial statements
None   a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept
       or supervised the keeping of books of account and records of the debtor.

       NAME AND ADDRESS                                                          DATES SERVICES RENDERED
None   b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited
       the books of account and records, or prepared a financial statement of the debtor.

       NAME                       ADDRESS                                        DATES SERVICES RENDERED
None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account
       and records of the debtor. If any of the books of account and records are not available, explain.

       NAME                                                                 ADDRESS
None   d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
       financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

       NAME AND ADDRESS                                                DATE ISSUED
               Case 8-09-76444-reg               Doc 1      Filed 08/28/09          Entered 08/28/09 12:10:17


                                                                                                                              7

       20. Inventories
None   a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
       taking of each inventory, and the dollar amount and basis of each inventory.

                                                                                         DOLLAR AMOUNT OF INVENTORY
       DATE OF INVENTORY                INVENTORY SUPERVISOR                             (Specify cost, market or other
                                                                                         basis)


None   b. List the name and address of the person having possession of the records of each of the inventories reported
       in a., above.

                                                                         NAME AND ADDRESSES OF CUSTODIAN
       DATE OF INVENTORY                                                 OF INVENTORY RECORDS

       21. Current Partners, Officers, Directors and Shareholders
None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
       partnership.

       NAME AND ADDRESS                                        NATURE OF INTEREST                    PERCENTAGE OF INTEREST
None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or
       indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                     NATURE AND PERCENTAGE
       NAME AND ADDRESS                                        TITLE                                 OF STOCK OWNERSHIP



       22. Former partners, officers, directors and shareholders
None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
       preceding the commencement of this case.

       NAME                                      ADDRESS                                                  DATE OF WITHDRAWAL




None   b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
       within one year immediately preceding the commencement of this case.

                                                               TITLE                                 DATE OF TERMINATION
       NAME AND ADDRESS
       23. Withdrawals from a partnership or distributions by a corporation
None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including
       compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year
       immediately preceding the commencement of this case.


       NAME & ADDRESS                                                                                AMOUNT OF MONEY
       OF RECIPIENT,                                          DATE AND PURPOSE                       OR DESCRIPTION
       RELATIONSHIP TO DEBTOR                                 OF WITHDRAWAL                          AND VALUE OF PROPERTY




       24. Tax Consolidation Group.
None   If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any
       consolidated group for tax purposes of which the debtor has been a member at any time within six years immediately
       preceding the commencement of the case.

       NAME OF PARENT CORPORATION                              TAXPAYER IDENTIFICATION NUMBER (EIN)
               Case 8-09-76444-reg             Doc 1       Filed 08/28/09        Entered 08/28/09 12:10:17


                                                                                                                        8

       25. Pension Funds.
None   If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the
       debtor, as an employer, has been responsible for contributing at any time within six years immediately preceding the
       commencement of the case.

       NAME OF PENSION FUND                                             TAXPAYER IDENTIFICATION NUMBER (EIN)




                                                                * * * * * *
   [if completed by an individual or individual and spouse]
   I declare under penalty of perjury that I have read the answers contained in the foregoing statement
   of financial affairs and any attachments thereto and that they are true and correct.

   Date 8/26/2009                                         Signature      s/ Keith Scandore
                                                          of Debtor      Keith Scandore
          Case 8-09-76444-reg              Doc 1      Filed 08/28/09        Entered 08/28/09 12:10:17



B 8 (Official Form 8) (12/08)

                                   UNITED STATES BANKRUPTCY COURT
                                         Eastern District of New York

In re                              Keith Scandore                       ,           Case No.
                                      Debtor                                                         Chapter 7



        CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A – Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured
by property of the estate. Attach additional pages if necessary.)


   Property No. 1

   Creditor's Name:                                               Describe Property Securing Debt:
   Bank of America                                                Townhouse Condo
                                                                  660 East Broadway
                                                                  Long Beach, NY 11561

   Property will be (check one):
           Surrendered                         Retained


   If retaining the property, I intend to (check at least one):
             Redeem the property
              Reaffirm the debt
              Other. Explain ___________________________ (for example, avoid lien using 11 U.S.C. § 522(f))


   Property is (check one):
           Claimed as exempt                                       Not claimed as exempt



   Property No. 2

   Creditor's Name:                                               Describe Property Securing Debt:
   Bank of America                                                Townhouse Condo
                                                                  660 East Broadway
                                                                  Long Beach, NY 11561

   Property will be (check one):
           Surrendered                         Retained


   If retaining the property, I intend to (check at least one):
             Redeem the property
              Reaffirm the debt
              Other. Explain ___________________________ (for example, avoid lien using 11 U.S.C. § 522(f))


   Property is (check one):
           Claimed as exempt                                       Not claimed as exempt
          Case 8-09-76444-reg              Doc 1      Filed 08/28/09         Entered 08/28/09 12:10:17


B 8 (Official Form 8) (12/08)                                                                                  Page 2


   Property No. 3

   Creditor's Name:                                               Describe Property Securing Debt:
   GMAC                                                           2008 GMC Yukon
                                                                  (subject to lien)

   Property will be (check one):
           Surrendered                        Retained


   If retaining the property, I intend to (check at least one):
             Redeem the property
              Reaffirm the debt
              Other. Explain ___________________________ (for example, avoid lien using 11 U.S.C. § 522(f))


   Property is (check one):
           Claimed as exempt                                       Not claimed as exempt



   Property No. 4

   Creditor's Name:                                               Describe Property Securing Debt:
   M & T Credit Services, LLC                                     2005 30' Grady White
                                                                  (subject to lien)

   Property will be (check one):
           Surrendered                        Retained


   If retaining the property, I intend to (check at least one):
             Redeem the property
              Reaffirm the debt
              Other. Explain ___________________________ (for example, avoid lien using 11 U.S.C. § 522(f))


   Property is (check one):
           Claimed as exempt                                       Not claimed as exempt



PART B – Personal property subject to unexpired leases. (All three columns of Part B must be completed for
each unexpired lease. Attach additional pages if necessary.)


   Property No. 1

   Lessor's Name:                            Describe Leased Property:                Lease will be Assumed pursuant
                                                                                      to 11 U.S.C. § 365(p)(2):
   None
                                                                                          YES            NO
          Case 8-09-76444-reg             Doc 1    Filed 08/28/09      Entered 08/28/09 12:10:17


B 8 (Official Form 8) (12/08)                                                                          Page 3


   0       continuation sheets attached (if any)

I declare under penalty of perjury that the above indicates my intention as to any property of my estate
securing a debt and/or personal property subject to an unexpired lease.



Date: 8/26/2009                                          s/ Keith Scandore
                                                         Keith Scandore
                                                         Signature of Debtor
                 Case 8-09-76444-reg               Doc 1      Filed 08/28/09           Entered 08/28/09 12:10:17




B22A (Official Form 22A) (Chapter 7) (12/08)

                                                                            According to the information required to be entered on this
                                                                            statement (check one box as directed in Part I, III, or VI of this
In re   Keith Scandore                                                      statement):
                   Debtor(s)                                                     The presumption arises

Case Number:                                                                     The presumption does not arise
                   (If known)                                                    The presumption is temporarily inapplicable.


                                CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                          AND MEANS-TEST CALCULATION
In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor, whether or not filing jointly.
Unless the exclusion in Line 1C applies, joint debtors may complete a single statement. If the exclusion in Line 1C applies, each joint
filer must complete a separate statement.

                                      Part I. MILITARY AND NON-CONSUMER DEBTORS

         Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the
         beginning of the Declaration, (2) check the box for “The presumption does not arise” at the top of this statement, and (3)
         complete the verification in Part VIII. Do not complete any of the remaining parts of this statement.
   1A
             Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled
         veteran (as defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active
         duty (as defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C.
         §901(1)).
         Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the
  1B     verification in Part VIII. Do not complete any of the remaining parts of this statement.

             Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.


         Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve
         component of the Armed Forces and members of the National Guard who were called to active duty (as defined in 10
         U.S.C. § 101(d)(1)) after September 11, 2001, for a period of at least 90 days, or who have performed homeland defense
         activity (as defined in 32 U.S.C. § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing
         during the time of active duty or homeland defense activity and for 540 days thereafter (the “exclusion period”). If you
         qualify for this temporary exclusion, (1) check the appropriate boxes and complete any required information in the
         Declaration of Reservists and National Guard Members below, (2) check the box for “The presumption is temporarily
         inapplicable” at the top of this statement, and (3) complete the verification in Part VIII. During your exclusion period
         you are not required to complete the balance of this form, but you must complete the form no later than 14 days
         after the date on which your exclusion period ends, unless the time for filing a motion raising the means test
         presumption expires in your case before your exclusion period ends.

  1C         Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries
         below, I declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve
         component of the Armed Forces or the National Guard


                      a.        I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                       I remain on active duty /or/
                                      I was released from active duty on ________________, which is less than 540 days before this
                                      bankruptcy case was filed;
                                   OR
                      b.        I am performing homeland defense activity for a period of at least 90 days /or/
                                I performed homeland defense activity for a period of at least 90 days, terminating on
                                _______________, which is less than 540 days before this bankruptcy case was filed.


                    Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
                Case 8-09-76444-reg                   Doc 1     Filed 08/28/09     Entered 08/28/09 12:10:17


B22A (Official Form 22A) (Chapter 7) (12/08)                                                                                              2

       Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
       a.       Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
       b.       Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
                penalty of perjury: "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse
                and I are living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy
  2             Code." Complete only Column A ("Debtor's Income") for Lines 3-11.
       c.       Married, not filing jointly, without the declaration of separate households set out in line 2.b above. Complete
                both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
       d.       Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income")
       for      Lines 3-11.
       All figures must reflect average monthly income received from all sources, derived during the           Column A        Column B
       six calendar months prior to filing the bankruptcy case, ending on the last day of the month             Debtor's       Spouse's
       before the filing. If the amount of monthly income varied during the six months, you must                Income          Income
       divide the six-month total by six, and enter the result on the appropriate line.

  3    Gross wages, salary, tips, bonuses, overtime, commissions.                                          $ 12,874.18     $
       Income from the operation of a business, profession or farm. Subtract Line b from
  4    Line a and enter the difference in the appropriate column(s) of Line 4. If you operate more
       than one business, profession or farm, enter aggregate numbers and provide details on an
       attachment. Do not enter a number less than zero. Do not include any part of the business
       expenses entered on Line b as a deduction in Part V.
         a.     Gross Receipts                                               $ 0.00
         b.     Ordinary and necessary business expenses                     $ 0.00
         c.     Business income                                              Subtract Line b from Line a   $ 0.00          $
       Rent and other real property income. Subtract Line b from Line a and enter the difference
       in the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not
       include any part of the operating expenses entered on Line b as a deduction in Part V.

  5      a.     Gross Receipts                                               $ 0.00
         b.     Ordinary and necessary operating expenses                    $ 0.00
                                                                                                           $ 0.00          $
         c.     Rent and other real property income                          Subtract Line b from Line a

  6    Interest, dividends, and royalties.                                                                 $ 0.00          $

  7     Pension and retirement income.                                                                     $ 0.00          $
  8    Any amounts paid by another person or entity, on a regular basis, for the household
       expenses of the debtor or the debtor’s dependents, including child support paid for                 $ 0.00          $
       that purpose. Do not include alimony or separate maintenance payments or amounts paid
       by your spouse if Column B is completed.

       Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
       However, if you contend that unemployment compensation received by you or your spouse
       was a benefit under the Social Security Act, do not list the amount of such compensation in
  9    Column A or B, but instead state the amount in the space below:

         Unemployment compensation claimed to
         be a benefit under the Social Security Act           Debtor $           Spouse $                  $               $

       Income from all other sources. Specify source and amount. If necessary, list additional
       sources on a separate page. Do not include alimony or separate maintenance payments
       paid by your spouse if Column B is completed, but include all other payments of
  10   alimony or separate maintenance. Do not include any benefits received under the Social
       Security Act or payments received as a victim of a war crime, crime against humanity, or as
       a victim of international or domestic terrorism.



         a.                                                              $
                 Case 8-09-76444-reg                    Doc 1         Filed 08/28/09             Entered 08/28/09 12:10:17


B22A (Official Form 22A) (Chapter 7) (12/08)                                                                                                             3

       Total and enter on Line 10.                                                                                            $ 0.00        $

       Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A,
  11                                                                                                                          $ 12,874.18   $
       and, if Column B is completed, add Lines 3 thru 10 in Column B. Enter the total(s).

       Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add Line
       11, Column A to Line 11, Column B, and enter the total. If Column B has not been                                       $ 12,874.18
  12
       completed, enter the amount from Line 11, Column A.

                                         Part III. APPLICATION OF § 707(b)(7) EXCLUSION

       Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12 and enter
  13
       the result.                                                                                                                          $ 154,490.16

       Applicable median family income. Enter the median family income for the applicable state and household size. (This
  14   information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
                                                                                                                                            $46,523.00
       a. Enter debtor’s state of residence:   NY                                 b. Enter debtor’s household size:     1

       Application of Section 707(b)(7). Check the applicable box and proceed as directed.
  15         The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for “The presumption does not
             arise” at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
             The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.

                         Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15).




                      Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)

  16   Enter the amount from Line 12.                                                                                                       $12,874.18

        Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in
  17
        Line 11, Column B that was NOT paid on a regular basis for the household expenses of the debtor or the
        debtor’s dependents. Specify in the lines below the basis for excluding the Column B income (such as
        payment of the spouse’s tax liability or the spouse’s support of persons other than the debtor or the debtor’s
        dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments
        on a separate page. If you did not check box at Line 2.c, enter zero.

            a.                                                                                   $

         Total and enter on Line 17 .                                                                                                       $ 0.00

  18   Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                                          $12,874.18

                                    Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                          Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)

        National Standards: food, clothing and other items. Enter in Line 19A the “Total” amount from IRS
19A     National Standards for Food, Clothing and Other Items for the applicable household size. (This information
        is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
                                                                                                                                            $ 517.00
                Case 8-09-76444-reg                Doc 1        Filed 08/28/09            Entered 08/28/09 12:10:17


B22A (Official Form 22A) (Chapter 7) (12/08)                                                                                        4

       National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
19B    Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
       Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
       www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the number of members of
       your household who are under 65 years of age, and enter in Line b2 the number of members of your
       household who are 65 years of age or older. (The total number of household members must be the same as
       the number stated in Line 14b.) Multiply Line a1 by Line b1 to obtain a total amount for household members
       under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for household
       members 65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care
       amount, and enter the result in Line 19B.

         Household members under 65 years of age                     Household members 65 years of age or older
         a1.   Allowance per member                   60.00          a2.     Allowance per member             144.00
         b1. Number of members                         1.00          b2.     Number of members

         c1.   Subtotal                                              c2.     Subtotal
                                                      60.00                                                              $ 60.00

        Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing
        and Utilities Standards; non-mortgage expenses for the applicable county and household size. (This
20A                                                                                                                      $ 623.00
        information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).

        Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of
        the IRS Housing and Utilities Standards; mortgage/rent expense for your county and household size (this
20B     information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the
        total of the Average Monthly Payments for any debts secured by your home, as stated in Line 42; subtract
        Line b from Line a and enter the result in Line 20B. Do not enter an amount less than zero.

         a.      IRS Housing and Utilities Standards; mortgage/rental expense   $ 1,518.00
         b.      Average Monthly Payment for any debts secured by home, if      $ 3,071.00
                 any, as stated in Line 42.
         c.      Net mortgage/rental expense                                    Subtract Line b from Line a              $ 0.00

       Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A
       and 20B does not accurately compute the allowance to which you are entitled under the IRS Housing and
21     Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis
       for your contention in the space below:
                                                                                                                         $



       Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to
       an expense allowance in this category regardless of whether you pay the expenses of operating a vehicle
       and regardless of whether you use public transportation.

       Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
       are included as a contribution to your household expenses in Line 8.          0       1       2 or more.
22A
       If you checked 0, enter on Line 22A the “Public Transportation” amount from IRS Local Standards:
       Transportation. If you checked 1 or 2 or more, enter on Line 22A the “Operating Costs” amount from IRS            $ 280.00
       Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
       Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of
       the bankruptcy court.)
        Local Standards: transportation; additional public transportation expense. If you pay the operating
22B     expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
        additional deduction for your public transportation expenses, enter on Line 22B the “Public Transportation”
        amount from IRS Local Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from
        the clerk of the bankruptcy court.)                                                                              $ 0.00
                  Case 8-09-76444-reg               Doc 1       Filed 08/28/09             Entered 08/28/09 12:10:17


B22A (Official Form 22A) (Chapter 7) (12/08)                                                                                         5

       Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
       which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more
       than two vehicles.)
              1        2 or more.
       Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
23     (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
       Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
       Line a and enter the result in Line 23. Do not enter an amount less than zero.

         a.       IRS Transportation Standards, Ownership Costs                 $ 489.00
         b.       Average Monthly Payment for any debts secured by Vehicle 1,
                  as stated in Line 42.                                         $ 720.00
         c.       Net ownership/lease expense for Vehicle 1                     Subtract Line b from Line a             $ 0.00


        Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you checked
        the “2 or more” Box in Line 23.
        Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
24      (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
        Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from
        Line a and enter the result in Line 24. Do not enter an amount less than zero.
         a.       IRS Transportation Standards, Ownership Costs                 $ 0.00
         b.       Average Monthly Payment for any debts secured by Vehicle 2,   $
                  as stated in Line 42
         c.       Net ownership/lease expense for Vehicle 2                     Subtract Line b from Line a             $ 0.00

       Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
25     federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self employment
                                                                                                                     $ 3,664.36
       taxes, social security taxes, and Medicare taxes. Do not include real estate or sales taxes.
       Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
       payroll deductions that are required for your employment, such as retirement contributions, union dues, and
26     uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.                  $ 0.00
       Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually
       pay for term life insurance for yourself. Do not include premiums for insurance on your dependents, for
27                                                                                                                   $ 0.00
       whole life or for any other form of insurance.
       Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
       required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
28                                                                                                                      $ 0.00
       payments. Do not include payments on past due obligations included in Line 44.

       Other Necessary Expenses: education for employment or for a physically or mentally challenged
       child. Enter the total average monthly amount that you actually expend for education that is a condition of
29     employment and for education that is required for a physically or mentally challenged dependent child for
                                                                                                                   $ 0.00
       whom no public education providing similar services is available.
       Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
30     childcare—such as baby-sitting, day care, nursery and preschool. Do not include other educational
       payments.                                                                                                   $ 0.00
       Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
31     on health care that is required for the health and welfare of yourself or your dependents, that is not
       reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered in
       Line 19B. Do not include payments for health insurance or health savings accounts listed in Line 34. $ 150.00
       Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that
32     you actually pay for telecommunication services other than your basic home telephone and cell phone
       service— such as pagers, call waiting, caller id, special long distance, or internet service—to the extent
       necessary for your health and welfare or that of your dependents. Do not include any amount previously
                                                                                                                        $ 100.00
       deducted.
33     Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                              $ 5,394.36
                                          Subpart B: Additional Living Expense Deductions
                                Note: Do not include any expenses that you have listed in Lines 19-32
                Case 8-09-76444-reg                    Doc 1        Filed 08/28/09             Entered 08/28/09 12:10:17


B22A (Official Form 22A) (Chapter 7) (12/08)                                                                                                    6

       Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
       expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your
       spouse, or your dependents.
         a.     Health Insurance                                   $ 401.55
34
         b.     Disability Insurance                               $ 0.00
         c.     Health Savings Account                             $

                                                                                                                                   $ 401.55
       Total and enter on Line 34
       If you do not actually expend this total amount, state your actual total average monthly expenditures in
       the space below:
       $

       Continued contributions to the care of household or family members. Enter the total average actual
       monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
35     elderly, chronically ill, or disabled member of your household or member of your immediate family who is                    $ 0.00
       unable to pay for such expenses.
       Protection against family violence. Enter the total average reasonably necessary monthly expenses that
36     you actually incurred to maintain the safety of your family under the Family Violence Prevention and                        $ 0.00
       Services Act or other applicable federal law. The nature of these expenses is required to be kept confidential
       by the court.
       Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
       Local Standards for Housing and Utilities, that you actually expend for home energy costs. You must
37                                                                                                                                 $
       provide your case trustee with documentation of your actual expenses, and you must demonstrate
       that the additional amount claimed is reasonable and necessary.
       Education expenses for dependent children less than 18. Enter the total average monthly expenses that
       you actually incur, not to exceed $137.50 per child, for attendance at a private or public elementary or
38     secondary school by your dependent children less than 18 years of age. You must provide your case
       trustee with documentation of your actual expenses, and you must explain why the amount claimed                             $ 0.00
       is reasonable and necessary and not already accounted for in the IRS Standards.
       Additional food and clothing expense. Enter the total average monthly amount by which your food and
       clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
39     National Standards, not to exceed 5% of those combined allowances. (This information is available at
       www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the additional
       amount claimed is reasonable and necessary.                                                                                 $

       Continued charitable contributions. Enter the amount that you will continue to contribute in the form of cash or
40     financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                                 $ 100.00


41     Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40.                                 $ 501.55

                                                 Subpart C: Deductions for Debt Payment

       Future payments on secured claims. For each of your debts that is secured by an interest in property that
       you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
       Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is the
       total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
       filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter
42     the total of the Average Monthly Payments on Line 42.
                    Name of             Property Securing the Debt             Average                     Does payment
                    Creditor                                                   Monthly                     include taxes
                                                                               Payment                     or insurance?
         a.   Bank of America           Long Beach, NY                    $ 2,613.00                     yes       no
         b.   Bank of America           "           "                     $ 458.00                       yes       no
         c.   Property Taxes            Long Beach, NY                    $ 1,000.00                     yes       no
                                                                                                     Total: Add Lines a, b and c   $ 4,462.00
                     Case 8-09-76444-reg                 Doc 1         Filed 08/28/09            Entered 08/28/09 12:10:17


B22A (Official Form 22A) (Chapter 7) (12/08)                                                                                                               7


       Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary
       residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
       you may include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the creditor
       in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure
       amount would include any sums in default that must be paid in order to avoid repossession or foreclosure.
 43    List and total any such amounts in the following chart. If necessary, list additional entries on a separate
       page.
                     Name of Creditor                 Property Securing the Debt          1/60th of the Cure Amount
         a. GMAC                                2008 Yukon                               $ 720.00
         b. M & T Bank                          Grady White                              $ 1,291.00
                                                                                                        Total: Add Lines a, b and c          $ 2,011.00
       Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
44     as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy                           $ 1,274.98
       filing. Do not include current obligations, such as those set out in Line 28.

       Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the
       following chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative
       expense.
         a.    Projected average monthly Chapter 13 plan payment.                        $
         b.    Current multiplier for your district as determined under schedules issued
 45              by the Executive Office for United States Trustees. (This information is
                 available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
                 court.)                                                                            x   10.00
         c.      Average monthly administrative expense of Chapter 13 case
                                                                                                     Total: Multiply Lines a and b           $ 0.00

 46    Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                                            $ 7,747.98

                                                   Subpart D: Total Deductions from Income

47     Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                                               $ 13,643.89



                                    Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION

48     Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                                $ 12,874.18
49     Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                                     $ 13,643.89
50     Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result                                       $ -769.71

       60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and enter the
51     result.
                                                                                                                                             $-46,182.60

       Initial presumption determination. Check the applicable box and proceed as directed.
              The amount on Line 51 is less than $6,575 Check the box for “The presumption does not arise” at the top of page 1 of this
              statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
52            The amount set forth on Line 51 is more than $10,950. Check the box for “The presumption arises” at the top of page 1 of this
              statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.
              The amount on Line 51 is at least $6,575, but not more than $10,950. Complete the remainder of Part VI (Lines 53 through
              55).

53     Enter the amount of your total non-priority unsecured debt                                                                            $
54     Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.                                $ 0.00

       Secondary presumption determination. Check the applicable box and proceed as directed.
              The amount on Line 51 is less than the amount on Line 54. Check the box for “The presumption does not arise” at the top of
55            page 1 of this statement, and complete the verification in Part VIII.
              The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for “The presumption arises” at
              the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.
               Case 8-09-76444-reg               Doc 1         Filed 08/28/09             Entered 08/28/09 12:10:17


B22A (Official Form 22A) (Chapter 7) (12/08)                                                                                            8


                                         Part VII. ADDITIONAL EXPENSE CLAIMS
       Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the
       health and welfare of you and your family and that you contend should be an additional deduction from your current
       monthly income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should
       reflect your average monthly expense for each item. Total the expenses.
56
                                         Expense Description                                            Monthly Amount
         a.                                                                                  $
                                                           Total: Add Lines a, b, and c      $ 0.00

                                                    Part VIII: VERIFICATION
       I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
       both debtors must sign.)
  57            Date: 8/26/2009                              Signature: s/ Keith Scandore
                                                                         Keith Scandore, (Debtor)


       Future payments on secured claims (continued)
                   Name of          Property Securing the Debt           Average                       Does payment
                   Creditor                                              Monthly                       include taxes
                                                                         Payment                       or insurance?


         d.   Condo Fees &          Long Beach, NY                $ 391.00                            yes     no
              Insurance
                    Case 8-09-76444-reg                     Doc 1        Filed 08/28/09               Entered 08/28/09 12:10:17



                                                     UNITED STATES BANKRUPTCY COURT
                                                     EASTERN DISTRICT OF NEW YORK

In Re                                                                                           BANKRUPTCY NO.

Keith Scandore


                                                                    Debtor.


                                                DECLARATION RE: ELECTRONIC FILING OF
                                                 PETITION, SCHEDULES & STATEMENTS

PART I - DECLARATION OF PETITIONER

           I Keith Scandore                                                   ,
the undersigned debtor(s), hereby declare under penalty of perjury that the information I have given my attorney and the information
provided in the electronically filed petition, statements, schedules is true and correct. I consent to my attorney sending my petition,
this declaration, statements and schedules to the United States Bankruptcy Court. I understand that this DECLARATION RE:
ELECTRONIC FILING is to be filed with the Clerk once all schedules have been filed electronically but, in no event, no later than 15 days
following the date the petition was electronically filed. I understand that failure to file the signed original of this DECLARATION will cause
my case to be dismissed pursuant to 11 U.S.C. § 707(a)(3) without further notice.


                   [If petitioner is an individual whose debts are primarily consumer debts and has chosen to file under chapter 7] I am
aware that I may proceed under chapter 7, 11, 12 or 13 of 11 United States Code, understand the relief available under each such chapter,
and choose to proceed under Chapter 7. I request relief in accordance with the chapter specified in this petition.
                   [If petitioner is a corporation or partnership] I declare under penalty of perjury that the information provided in this
petition is true and correct, and that I have been authorized to file this petition on behalf of the debtor. The debtor requests relief in
accordance with the chapter specified in this petition.


Dated:    8/26/2009
                                                  Signed:     s/ Keith Scandore
                                                              Keith Scandore
                                                                                  (Applicant)

PART II - DECLARATION OF ATTORNEY

            I declare under penalty of perjury that I have reviewed the above debtor’s petition and that the information is complete and
correct to the best of my knowledge. The debtor(s) will have signed this form before I submit the petition, schedules, and statements. I
will give the debtor(s) a copy of all forms and information to be filed with the United States Bankruptcy Court, and have followed all other
requirements in the most recent attachment to G.O. #162. I further declare that I have examined the above debtor’s petition, schedules, and
statements and, to the best of my knowledge and belief, they are true, correct, and complete. If an individual, I further declare that I have
informed the petitioner that [he or she] may proceed under chapter 7, 11, 12 or 13 of Title 11, United States Code, and have explained the
relief available under each such chapter. This declaration is based on all information of which I have knowledge.



Dated:    8/26/2009
                                                                                  /s/ Michael J. Macco
                                                                                  Michael J. Macco, Esq.
                                                                                  Attorney for Debtor(s)
                 Case 8-09-76444-reg             Doc 1       Filed 08/28/09        Entered 08/28/09 12:10:17


    B 201 (12/08)

                                       UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF NEW YORK


                              NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                                       OF THE BANKRUPTCY CODE
                 In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
    Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and
    costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
    notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.
                You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
    advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot
    give you legal advice.
                 Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order
    to
    ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the
    court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to
    each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
    receive a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
    1. Services Available from Credit Counseling Agencies

             With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
    bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
    counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days
    before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by
    telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
    United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
    approved budget and credit counseling agencies. Each debtor in a joint case must complete the briefing.
              In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
    management instructional course before he or she can receive a discharge. The clerk also has a list of approved
    financial management instructional courses. Each debtor in a joint case must complete the course.

    2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors
         Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)

              1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
   Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
   should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
   residence and family size, in some cases, creditors have the right to file a motion requesting that the court dismiss your
   case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
              2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
   right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
   creditors.
              3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found
   to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge
   and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
              4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
   may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
   and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
   which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor
   vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud,
   breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is
   not discharged.
       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $39
administrative fee: Total fee $274)
              Case 8-09-76444-reg                     Doc 1         Filed 08/28/09             Entered 08/28/09 12:10:17


B 201                                                                                                                      Page 2

         1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar
amounts set forth in the Bankruptcy Code.
          2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
depending upon your income and other factors. The court must approve your plan before it can take effect.
          3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
secured obligations.

    Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
         Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions
are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.
    Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)

         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court.

                                                           Certificate of the Debtor
    I , the debtor, affirm that I have received and read this notice.
Keith Scandore                                                          X s/ Keith Scandore                       8/26/2009
Printed Name of Debtor                                                    Keith Scandore
                                                                         Signature of Debtor                         Date
Case No. (if known)
